       Case 1:20-cr-00080-RJA-JJM Document 16 Filed 06/22/20 Page 1 of 1
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

v.                                                                1:20
                                                                  BB     cr 0080
                                                                     ___-___-___ BBBBBB
Courtland Renford
_____________________________________,
                  Defendant.


           ORDER REGARDING USE OF VIDEO OR TELECONFERENCING

       In accordance with the General Order issued on March 30, 2020, this Court finds:

  ✔
______That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation with

counsel; and

The proceeding(s) held on this date may be conducted by:

  ✔
______Video Teleconferencing

______Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

       ______The Defendant (or the Juvenile) is detained at a facility lacking video

teleconferencing capability.

       ______Other:




       IT IS SO ORDERED.

 Date: June 22, 2020                                        /s/ Jeremiah J. McCarthy
                                                            Jeremiah J. McCarthy
                                                            United States Magistrate Judge
